Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 1 of 42




                        EXHIBIT E
                           Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 2 of 42




  US7079752                                                          Azteca America
1. A process for   Azteca America supports HLS streaming protocol (“the Standard”). In addition, Azteca America utilizes HLS for
recording, on a    delivery of contents to its customers/viewers. As shown below, a video content from Azteca America is streamed
recording          and the data traffic is captured showing the media format as HLS, the m3u8 file, (e.g., the Media playlist file
medium,        a   comprising links to content chunks in .ts format used by HLS to contain information about the media playing), and
scrambled          the encryption scheme used by the streamed video. In addition, the HLS stream provided through Azteca America
digital video      provides trick mode operation (such as 10 sec reverse trick mode) to the streamed video.
stream,
implementing       On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
the following      performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities using the
steps,        in   Standard on the performance of that step as disclosed herein. For example, on information and belief, a user
addition to the    cannot use the accused instrumentality utilizing the Standard as described in this claim chart without performance
recording of the   of the steps recited in this claim. By providing the accused instrumentality utilizing the Standard as disclosed
scrambled data:    herein, Defendant also controls the manner and/or timing of the functionality described in this claim chart. In
                   other words, for a user to utilize the functionality described in this claim chart, the steps of this claim must be
                   performed in the manner described herein. Without performance of the steps as described herein, the Defendant’s
                   functionality will not be available to users.

                   The Standard practices a process for recording (e.g., recording by means of downloading in a storage), on a
                   recording medium (e.g., a storage mechanism), a scrambled digital video stream (e.g., scrambled video created by
                   making use of AES 128 encryption), implementing the following steps, in addition to the recording of the scrambled
                   data.
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 3 of 42




https://aztecaamerica.com/
        Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 4 of 42




https://aztecaamerica.com/

Shown below is the URL of .m3u8 master file sent by Azteca America server which identifies the usage of HLS
based streaming by Azteca America servers. The m3u8 master file refers to all the variants of the video encoded for
various      bandwidths    and       resolutions.  The      URL         of      .m3u8        master      file    is:
https://cdn.jwplayer.com/manifests/JRsV3ilM.m3u8
        Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 5 of 42




Source: Packet capturing by fiddler tool




Source: Packet capturing by fiddler tool
        Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 6 of 42




Source: Packet capturing by fiddler tool

Azteca America streams videos with the capability of being played with trick mode (e.g., 10 Sec reverse trick mode)
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 7 of 42




https://aztecaamerica.com/

Azteca America streams scrambled/encrypted content making use of AES 128 encryption.
        Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 8 of 42




Source: Packet capturing by fiddler tool
        Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 9 of 42




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 10 of 42




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 11 of 42




https://tools.ietf.org/html/rfc8216




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 12 of 42




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 13 of 42




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 14 of 42




https://developer.apple.com/documentation/http_live_streaming
                          Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 15 of 42




                   https://broadpeak.tv/blog/how-apple-hls-is-strengthening-its-hand-in-the-abr-game-with-ll-hls/

descrambling       The HLS standard practices descrambling (e.g., decrypting the received encrypted video segments) of said
of          said   scrambled data of said stream (e.g., scrambled video segments) so as to extract therefrom additional data (e.g.,
scrambled data     information related to the video segments for trick mode) corresponding to information required by a function of
of said stream     the special mode or “trick mode.”
so as to extract
therefrom
additional data
corresponding
to information
required by at
least       one
function of the
special mode or
                         Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 16 of 42




“trick mode”
(fast forward,
fast    rewind,
accelerated
motion, slow
motion, etc.);
and




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       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 17 of 42




https://www.geeksforgeeks.org/advanced-encryption-standard-aes/
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 18 of 42




https://www.geeksforgeeks.org/advanced-encryption-standard-aes/
Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 19 of 42
                       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 20 of 42




                https://aztecaamerica.com/

recording     of The product complying with the Standard practices recording of these additional data on the recording medium
these additional (e.g., downloading/buffering trick play information to enable trick play mode rendering).
data on the
recording        The product must store the data pertaining to trick modes to allow the playback of the video in trick modes.
medium.
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 21 of 42




https://aztecaamerica.com/
                         Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 22 of 42




15. A process     Azteca America supports HLS streaming protocol (“the Standard”). In addition, Azteca America utilizes HLS for
for decoding a    delivery of contents to its customers/viewers. As shown below, a video content from Azteca America is streamed
scrambled         and the data traffic is captured showing the media format as HLS, the m3u8 file, (e.g., the Media playlist file
MPEG stream       comprising links to content chunks in .ts format used by HLS to contain information about the media playing), and
recorded on a     the encryption scheme used by the streamed video. In addition, the HLS stream provided through Azteca America
recording         provides trick mode operation (such as 10 sec reverse trick mode) to the streamed video.
medium,     for
implementing a    On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
special mode      performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities using the
(“trick mode”),   Standard on the performance of that step as disclosed herein. For example, on information and belief, a user
                         Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 23 of 42




comprising the cannot use the accused instrumentality utilizing the Standard as described in this claim chart without performance
following      of the steps recited in this claim. By providing the accused instrumentality utilizing the Standard as disclosed
steps:         herein, Defendant also controls the manner and/or timing of the functionality described in this claim chart. In
               other words, for a user to utilize the functionality described in this claim chart, the steps of this claim must be
               performed in the manner described herein. Without performance of the steps as described herein, the Defendant’s
               functionality will not be available to users.

                 HLS (“the Standard”) practices a process for decoding a scrambled MPEG stream (e.g., scrambled video created by
                 making use of AES 128 encryption) recorded on a recording medium (e.g., a buffer for integrated video player on
                 a webpage), for implementing a special mode (“trick mode”).




                 https://aztecaamerica.com/
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 24 of 42




https://aztecaamerica.com/

Shown below is the URL of .m3u8 master file sent by Azteca America server which identifies the usage of HLS
based streaming by Azteca America servers. The m3u8 master file refers to all the variants of the video encoded for
various bandwidths and resolutions. The URL of .m3u8 master file is: m3u8 file
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 25 of 42




Source: Packet capturing by fiddler tool




Source: Packet capturing by fiddler tool
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 26 of 42




Source: Packet capturing by fiddler tool

Azteca America streams videos with the capability of being played with trick mode (e.g., 10 Sec reverse trick mode)
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 27 of 42




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Azteca America streams scrambled/encrypted content making use of AES 128 encryption.
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 28 of 42




Source: Packet capturing by fiddler tool
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 29 of 42




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 30 of 42




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 31 of 42




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https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 32 of 42




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 33 of 42




https://tools.ietf.org/html/rfc8216
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 34 of 42




https://developer.apple.com/documentation/http_live_streaming
                          Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 35 of 42




                   https://broadpeak.tv/blog/how-apple-hls-is-strengthening-its-hand-in-the-abr-game-with-ll-hls/

reading, from      The accused instrumentality complying with the Standard practices reading, from the recording medium (e.g., a
the recording      buffer for integrated video player on a webpage), of additional data (e.g., information related to the video segments
medium,      of    for trick mode), other than the scrambled data of the MPEG stream (e.g., scrambled video created by making use of
additional data,   AES 128 encryption), corresponding to information required by at least one function of the special mode or “trick
other than the     mode” (fast forward, fast rewind, accelerated motion, slow motion, etc.).
scrambled data
of the MPEG        The buffer pertaining to integrated video player on a webpage of the accused instrumentality must store the data
stream,            pertaining to trick modes to allow the playback of the video in trick modes.
corresponding
to information
required by at
least       one
function of the
                         Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 36 of 42




special mode or
“trick mode”
(fast forward,
fast    rewind,
accelerated
motion, slow
motion, etc.),




                  Source: Packet capturing by fiddler tool
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 37 of 42




https://www.geeksforgeeks.org/advanced-encryption-standard-aes/
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 38 of 42




https://www.geeksforgeeks.org/advanced-encryption-standard-aes/
Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 39 of 42
                          Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 40 of 42




                   https://aztecaamerica.com/
reading, from      The accused instrumentality complying with the Standard practices reading, from the recording medium (e.g., a
the recording      buffer for integrated video player on a webpage), of scrambled data of the MPEG stream (e.g., scrambled video
medium,       of   created by making use of AES 128 encryption) which are determined as a function of the said additional data (e.g.,
scrambled data     information related to the video segments for trick mode).
of the MPEG
stream which       The buffer pertaining to integrated video player on a webpage of the accused instrumentality must store the data
are determined     pertaining to trick modes to allow the playback of the video in trick modes.
as a function of
the         said
additional data.
       Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 41 of 42




https://aztecaamerica.com/
Case 6:22-cv-00700-ADA Document 1-5 Filed 06/29/22 Page 42 of 42
